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Counsel for the Debtor and Debtor-in-Possession

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    In re:                                 §
                                           §                          Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1   §
                                           §                          Case No. 19-34054-sgj11
                                           §
                          Debtor.
                                           §
                                           §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                           §
                                           §                          Adv. Proc. No. 21-03007-sgj
                          Plaintiff,
                                           §
    v.
                                           §
                                                                      Civil Case No. 3:21-CV-01379-X
    HCRE PARTNERS, LLC n/k/a NEXPOINT REAL §
                                           §
    ESTATE PARTNERS, LLC,
                                           §
                                           §
                          Defendant.
                                           §

1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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         PLAINTIFF’S REPLY TO DEFENDANT’S LIMITED OBJECTION TO REPORT
          AND RECOMMENDATION OF THE BANKRUPTCY COURT RELATING TO
               DEFENDANT’S MOTION TO WITHDRAW THE REFERENCE

           Highland Capital Management, L.P., the above-captioned Plaintiff (the “Debtor”), by and

through its undersigned counsel, hereby files this reply (this “Reply”) to the Limited Objection of

NexPoint Real Estate Partners, LLC to Report and Recommendation to District Court on the

Motion to Withdraw the Reference [Docket No. 5 in Civil Case No. 3:21-CV-01379-X 2] (the

“Objection”) filed by Defendant HCRE Partners, LLC n/k/a NexPoint Real Estate Partners, LLC

(“Defendant”). For the reasons set forth herein, the Objection should be overruled by the District

Court, and the Report and Recommendation of the Bankruptcy Court [Docket No. 3] (the

“Report”) should be adopted by the District Court.

           In support hereof, the Debtor represents as follows:

    I.     PRELIMINARY STATEMENT

           1.     By the Objection, Defendant, an entity controlled by Mr. Dondero, 3 again tries to

reargue its disputes with the Debtor, thereby needlessly creating more delay and adding more

expense for the Debtor’s estate. Defendant filed a motion to withdraw the reference, and it and

the Debtor fully briefed and argued the relevant issues before the Bankruptcy Court, which court

then issued its Report to the District Court. This matter is now before the District Court for

determination. Nonetheless, Defendant, together with Mr. Dondero and other Dondero-controlled

entities in their own adversary proceedings involving the Debtor, continue their campaign to harass

the Debtor.




2
 Unless otherwise noted, all references herein to docket numbers are to the docket of Civil Case No. 3:21-CV-01379-
X.
3
 Mr. Dondero is the former principal of the Debtor from its inception until his resignation in January 2020 and ultimate
ouster by the Debtor in October 2020.



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           2.       Ironically, the Bankruptcy Court granted the substantive portion of Defendant’s

motion -- recommending that the District Court finally determine the merits of underlying claims

-- while retaining jurisdiction over pre-trial matters, including issuing any reports or

recommendations concerning any dispositive motions, a common practice in resolving motions to

withdraw the reference.

           3.       Indeed, in two other adversary proceedings involving Dondero-affiliated entities,

the respective reports and recommendations issued by Judge Jernigan involving nearly identical

arguments were recently adopted by the District Court (Judges Cummings and Godbey,

respectively) (the “Accepted Reports”). In both actions, the Bankruptcy Court will handle all pre-

trial matters. See Order Adopting Bankruptcy Court Report and Recommendation, Docket No. 5

in Highland Capital Mgmt. LP, et al. v. Highland Capital Management Services, Inc.,, Civil Case

No. 3:21-CV-01378-N (Judge Godbey); Order Adopting Bankruptcy Court Report and

Recommendation, Docket No. 10 in Highland Capital Mgmt. LP, et al. v. NexPoint Advisors LP,

Civil Case No. 3:21-CV-00880-C (Judge Cummings).

           4.       Notably, Defendant cites no legal predicate for even submitting the Objection for

the District Court’s consideration.             Without any basis in statute, the Bankruptcy Rules, or

otherwise, 4 Defendant wants yet another opportunity to object, forcing the Debtor to, among other

things, bear the costs of responding and divert estate resources and attention. The District Court

should disregard the Objection in its entirety on that basis alone.

           5.       Defendant adds one new argument – that the Bankruptcy Court is biased towards

Mr. Dondero and entities affiliated with him, including Defendant. Defendant made no such

argument on this point in its motion to withdraw the reference [Docket No. 21 in Adv. No. 21-


4
    The Report contains no provision allowing for further briefing or objections.


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03007-sgj] (the “Withdrawal Motion”). Consequently, the Debtor did not address this issue in any

of its filings in this action.

        6.       The District Court should not consider Defendant’s newly asserted bias argument

on the ground that it is procedurally improper. But even if the District Court reviewed this

argument, it is of no consequence. As explained in the Recusal Brief (defined below), Defendant’s

claims of bias or prejudice by the Bankruptcy Court are groundless.

        7.       Although the Bankruptcy Court rejected certain of the Debtor’s positions, the

Debtor urges the District Court to adopt the Report. The underlying action is a garden-variety

collection action in which the Debtor seeks to recover on unambiguous demand notes. The Debtor

seeks a prompt resolution of this matter, and, based on the circumstances, believes the Bankruptcy

Court’s recommendation that the Bankruptcy Court retain and handle all pre-trial matters

(including any summary judgment or other dispositive, pre-trial motions, provided that the

Bankruptcy Court will submit a report and recommendation to the District Court as to such

motions) is well-supported and appropriate.


 II.    WITHDRAWAL OF THE REFERENCE IS NOT MANDATORY. DEFENDANT
        FAILS TO PROVIDE ANY MEANINGFUL SPECIFICITY ON WHY THIS
        MATTER IS ALLEGEDLY A COMPLEX TAX LAW MATTER

        8.       In the Objection, Defendant argues for the first time in this action that withdrawal

of the reference is mandatory because the action will allegedly entail substantial consideration of

federal tax law. The District Court should not consider Defendant’s newly asserted argument on

the basis that it is procedurally improper.

        9.       Even if the District Court were to review Defendant’s argument, with regard to the

merits thereof, as properly observed by the Bankruptcy Court in dealing with a virtually identical

federal tax law argument made by Mr. Dondero in the separate adversary proceeding between the


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Debtor and Mr. Dondero (Adv. No. 21-03003-sgj; Civ. Case No. 21-CV-01010-E)) (the “Dondero

Action”), “[t]he bankruptcy court routinely considers tax law issues and, here, Dondero-Defendant

has provided no meaningful explanation of the alleged materiality, complexity, and relevance of

federal tax law issues to the Adversary Proceeding.” (Report in Dondero Action, at 8, Docket No.

2 in Civ. Case No. 21-CV-01010-E.) Such conclusion should apply with equal force in this action

as well.

        10.      In the Objection, Defendant cites one tax court case and one IRC provision in the

Objection to no avail. First, Defendant argues that here: “the fact-finder will ultimately need to

hear fact and expert testimony about how loans are used as a deferred compensation device and

how those devices are structured. Such analysis requires the Court to determine the particulars

and nuances of the Notes, the circumstances and testimony regarding the creation of the Notes,

testimony on the conditions subsequent and financial benchmarks resulting in the Notes becoming

compensation, whether those conditions subsequent were met, how the funds from the Notes were

ultimately treated, and by whom.” Objection at 11 (citing Salloum v. Comm’r of Internal Revenue,

113 T.C.M. (CCH) 1563 (T.C. 2017)).” 5 However, none of the foregoing examples of judicial

tasks described by Defendant appear to center on federal tax law. Instead, Defendant’s examples

focus on the parties’ intent, including potentially consideration of market circumstances and

compensation practices, and whether the parties’ actions comported with such intent, and the

common judicial tasks of hearing and weighing expert and other testimony and reviewing related

documents. 6


5
  Salloum was a relatively straightforward case, with no notably complex tax law issue presented. See also In re
Robertson, 576 B.R. 684, 712 (Bankr. N.D. Ga. 2017) (bankruptcy court discussed issue of how the court’s analysis
of whether a transfer constituted a loan is a question of fact that depends on numerous factors, and explained the
factors set forth in Salloum).
6
 Defendant, in insulting fashion to the Bankruptcy Court, warns that an erroneous decision by the reviewing court
will have adverse effects on the market: “Placing perceived roadblocks to the use of a compensation method that is

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         11.      Second, the federal tax law cited in the Objection by Defendant – Internal Revenue

Code sec. 61(a)(11) – is the IRC’s definition of gross income which includes income from the

discharge of indebtedness. Defendant’s citation to this statute and conclusory statements that

federal tax laws and concepts will have to be substantially considered by the reviewing court are

not enough to justify rejecting the Report – particularly since this Court will make any final

determination on the merits of Defendant’s defense.

         12.      Defendant has failed to provide any specificity on why this matter is allegedly a

particularly complex tax law matter. To the contrary, the little additional tax related discussion by

Defendant in the Objection, as well as the purported expert reports procured by Mr. Dondero, 7

actually militate in favor of the Bankruptcy Court hearing such matters and performing such

judicial tasks in this action.

         13.      Defendant presents nothing new in the Objection that supports the argument that

any tax related issues involved in the action are beyond the skills of the Bankruptcy Court,

particularly on a pre-trial basis.

III.      DEFENDANT’S AGAIN-ASSERTED JUDICIAL ECONOMY ARGUMENT HAS
          THE SITUATION BACKWARDS: HAVING THE BANKRUPTCY COURT
          ADDRESS ALL PRE-TRIAL MATTERS WILL FOSTER JUDICIAL
          ECONOMY

         14.      Defendant argues that judicial economy calls for immediate withdrawal of the

action, notably because of the potential filing of summary judgment motions that, Defendant

contends, cannot be resolved by the Bankruptcy Court. (Objection at 4-5.)




common in the financial services industry would have an adverse impact on competition for top level professionals in
the industry.” (Objection at 11.)
7
 The Debtor reserves all rights with respect to the alleged expert reports. To the extent that the Court were to consider
such reports in this matter, nothing in the reports suggest overly complex tax law issues.


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        15.      Defendant fails to mention that the Bankruptcy Court is very familiar with the

litigants, the claims, and the defenses in the underlying action, having already dealt with the

litigants in this action as well as in other adversary proceedings and contested matters litigated

before the Bankruptcy Court over the past year. Indeed, if the Objection were sustained, there

would be a risk of inconsistent decisions because the Bankruptcy Court is already handling all pre-

trial matters for those cases subject to the Accepted Reports – cases in which the same witnesses

will be testifying and which are therefore being consolidated for purposes of discovery.

        16.      Moreover, if the Objection is overruled the Bankruptcy Court will provide to the

District Court an appropriate fully developed record and a detailed report of findings and

recommendations, facilitating the District Court’s review and decisions in the adversary

proceeding. Given the patent judicial economy and judicial efficiency benefits, the Debtor

understands that it is a common practice for bankruptcy courts to handle pre-trial matters, including

summary judgment motions and other dispositive motions, in this District. See, e.g., Accepted

Reports. See also City Bank v. Compass Bank, 2011 U.S. Dist. LEXIS 129654, at *14 (W.D. Tex.

Nov. 9, 2011) (“efficiency concerns counsel in favor of allowing this claim to proceed in

bankruptcy court, and only withdrawing the referral if a jury trial becomes necessary”); In re Blake,

400 B.R. 200, 207 (Bankr. S.D. Tex. 2008) (“The right to a jury trial does not preclude a

bankruptcy court from resolving pre-trial dispositive motions. A right to a jury trial does not arise

until jury issues are presented.” (numerous Fifth Circuit citations omitted)); Schott v. Massengale,

2020 U.S. Dist. LEXIS 113810, at *18 (M.D. La. June 30, 2020) (“[T]he Court finds that

withdrawing only the trial portion, leaving the remainder of the case to be handled by the

bankruptcy court is the more pragmatic option for efficient case administration. In addition, it




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decreases the risk of forum shopping, while protecting the right to a jury trial in an Article III court

if the case proceeds to trial.”)

        17.      Allowing the Bankruptcy Court to handle all discovery and other pre-trial matters

will further the important goals of judicial economy, the promotion of uniformity and efficiency

in bankruptcy administration, and the mitigation of forum shopping by Mr. Dondero and his

affiliates and the delays and costs to the Debtor’s estate.

IV.     DEFENDANT’S ALLEGED JUDICIAL BIAS ARGUMENT, WHICH WAS NOT
        PREVIOUSLY RAISED AS A REASON FOR WITHDRAWAL OF THE
        REFERENCE IN THIS ACTION, IS BASELESS, AS PROPERLY CONCLUDED
        BY THE BANKRUPTCY COURT IN DENYING THE SEPARATE RECUSAL
        MOTION

        18.      In the Objection, Defendant now alleges that Judge Jernigan is biased against Mr.

Dondero and his affiliates such that the District Court should preclude the Bankruptcy Court from

adjudicating this matter by withdrawing the reference. (Objection at 5-10.)                     This self-serving

allegation was not asserted in the Withdrawal Motion.

        19.      Any argument relating to “bias” is entirely irrelevant to the Bankruptcy Court’s

Report, as such argument was the subject of a separate motion decided by the Bankruptcy Court,

[Bankr. Docket Nos. 2061 and 2083] (the “Recusal Motion” and “Recusal Order,” respectively),

and is subject to a pending appeal before the District Court (the “Recusal Appeal”), Case No. 3:21-

CV-00879-K. [D. Ct. Docket Nos. 16 and 20] (“Recusal Brief” and “Debtor’s Response”). 8

        20.      Defendant’s reliance on Cooley v. Foti, No. CIV.A. 86-3704, 1988 WL 10166,

1988 U.S. Dist. LEXIS 1131 (E.D. La. Feb. 5, 1988) is equally inappropriate. There, the court

found that “extraordinary circumstances” warranted withdrawal of the reference of a magistrate

judge, pursuant to 28 U.S.C. § 636, where the evidence showed “a degree of anger so pervasive as


8
 To the extent the Court considers the Defendant’s “bias” argument, the Debtor incorporates by reference the entirety
of its Recusal Brief, and the exhibits in support thereof, as if fully set forth herein.


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to amount to personal bias.” Id. at *5. Here, the Defendant offers no evidence of “bias” because

none exists. See generally Recusal Brief and Recusal Order. Any arguments relating to “bias”

should be summarily rejected by the Court.

        21.      In sum, the District Court should reject Defendant’s belated argument of “bias” as

another improper, unjustified attempt to relitigate rulings unfavorable to Mr. Dondero and his

affiliates.

 V.     CONCLUSION

        For the reasons set forth herein, the Debtor respectfully requests that the Court (i) overrule

Defendant’s Objection; (ii) adopt the Bankruptcy Court’s findings and recommendations in the

Report; and (iii) grant such other and further relief as the Court deems just and proper.

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 Dated: August 10, 2021.         PACHULSKI STANG ZIEHL & JONES LLP

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